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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW FULLMAN,                   :
                                  :    CIVIL ACTION
     Plaintiff,                   :    NO. 17-2673
                                  :
          v.                      :
                                  :
CITY OF PHILADELPHIA,             :
 et al.,                          :
     Defendants.                  :

                               O R D E R


          AND NOW, this 2nd day of July, 2018, upon

consideration of Plaintiff’s motion to compel discovery (ECF No.

28), it is hereby ORDERED that the motion (ECF No. 28) is DENIED

without prejudice.1



          AND IT IS SO ORDERED.




                                  /s/ Eduardo C. Robreno
                                  EDUARDO C. ROBRENO,    J.




1
           The Court previously stayed discovery in this case, see ECF
No. 19, pending determination of Defendants’ motions to dismiss, which
were subsequently denied. See ECF No 25. In accordance with this
Court’ prior Order, see id., a telephone status and scheduling
conference will be scheduled after Defendants file their motion for
summary judgment. At this conference, the Court will discuss what, if
any, discovery Plaintiff requires.
